Case 3:20-cv-11911-RHC-APP ECF No. 52, PageID.2584 Filed 08/09/21 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN

IN-N-OUT BURGERS,
a California corporation,

        Plaintiff/Counter-Defendant,               Civil Action No. 3:20-cv-11911

v.                                                 Hon. Robert H. Cleland

DOLL N BURGERS LLC, et al,                         Magistrate Judge Anthony P. Patti

        Defendants/Counter-Plaintiffs.


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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 9, 2021, I caused true and correct copies of the

following:

     • Notice of Filing Exhibits in the Traditional Manner
     • Index of Exhibit to be Filed in the Traditional Manner
     • Exhibit 56 in Support of Plaintiff's Motion for Summary Judgment

to be served on the following at the address below via first class mail:
Case 3:20-cv-11911-RHC-APP ECF No. 52, PageID.2585 Filed 08/09/21 Page 2 of 2




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I further certify that I electronically filed this certificate of service using the Court's CM/ECF

system, which will send notification to all attorneys of record.



                                                    Respectfully submitted,

Dated:        August 9, 2021                        By: /s/ Denise A. Keilch
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